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 1 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal. Bar No. 220289)
 2 Bethany Caracuzzo (Cal. Bar No. 190687)
   Caroline Corbitt (Cal Bar No. 305492)
 3
   PRITZKER LEVINE LLP
 4 1900 Powell Street, Suite 450
   Emeryville, CA 94608
 5 Tel.: (415) 692-0772
   Fax: (415) 366-6110
 6 ecp@pritzkerlevine.com
   jkl@pritzkerlevine.com
 7
   bc@pritzkerlevine.com
 8 ccc@pritzkerlevine.com

 9 Interim Class Counsel

10 [Additional Counsel on Signature Page]

11

12

13                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN JOSE DIVISION
15
     IN RE GOOGLE RTB CONSUMER                        CASE NO. 4:21-CV-02155-YGR-VKD
16   PRIVACY LITIGATION

17                                                    PLAINTIFFS’ NOTICE OF MOTION
                                                      AND MOTION FOR CONTEMPT AND
18   This document applies to all actions.            SANCTIONS FOR VIOLATIONS OF
19                                                    AUG. 26, 2022 AND DEC. 16, 2022
                                                      DISCOVERY ORDERS [DKT. NOS. 314,
20                                                    382]

21                                                    Judge: Hon. Virginia K. DeMarchi
                                                      Date: April 4, 2023
22
                                                      Time: 10:00 a.m.
23                                                    Courtroom: 2, Fifth Floor

24

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 1                              NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE THAT on April 4, 2023, at 10 a.m., in Courtroom 2, 5th Floor,
 3 of this Court, located at 280 South 1st Street, San Jose, California, before the Honorable Virginia

 4 K. DeMarchi, Magistrate Judge of the United States District Court for the Northern District of

 5 California, plaintiffs will and do hereby move the Court, pursuant to Federal Rules of Civil

 6 Procedure 16(f) and 37(b) and Civil Local Rule 37, and for the reasons set forth below and in the

 7 accompanying Declaration of Jonathan K. Levine (“Levine Decl.”), for an order of contempt and

 8 imposition of evidentiary and monetary sanctions against Google for its willful failure to comply

 9 with discovery orders entered by Court on August 26, 2022 (the “Aug. 26 Order”) (Dkt. 314) and

10 December 16, 2022 (the “Dec. 16 Order”) (Dkt. 382) with respect to the production of interest-

11 based categories (called “verticals”) pertaining to the named plaintiffs during the class period. A

12 proposed order is submitted herewith.

13          The Court ordered Google to produce verticals data related to the named plaintiffs during
14 the class period by January 31, 2023. Google made no production of verticals data on January 31,

15 2023. On February 9, 2023, Google finally and belatedly made a partial production of verticals

16 data that appears to be for the named plaintiffs. This production is severely incomplete, has been

17 stripped of key data, and facially fails to comply with the Aug. 26 and Dec. 16 Orders in multiple

18 respects. On February 10, 2023, plaintiffs sent Google a letter asking Google to comply with the

19 Court’s Orders and make a full and complete production of verticals data for the named plaintiffs.

20 Google waited 12 days to respond to this letter, but has not made any subsequent production of

21 verticals data that would cure all of the problems with the late February 9, 2023 partial production.

22          This motion seeks an order of contempt, imposition of evidentiary sanctions, and monetary
23 sanctions in the form of costs and attorneys’ fees for Google’s willful and knowing violation of

24 this Court’s discovery orders, on the grounds set forth in the accompanying memorandum of points

25 and authorities, and upon any further grounds the Court may determine or that plaintiffs may assert

26 on reply or at hearing in this matter.
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2          I.      INTRODUCTION
 3          Google has twice been ordered by this Court to produce verticals information relating to

 4 the named plaintiffs. See Aug. 26 Order (Dkt. 314); Dec. 16 Order (Dkt. 382). On August 26,

 5 2022, the Court ordered Google to produce certain categories of data relating to the named

 6 plaintiffs. See Aug. 26 Order at 4-5. Google failed to produce any verticals information relating

 7 to the named plaintiffs in response to the Aug. 26 Order, which the Court subsequently held to be

 8 a violation of that Order. See Dec. 16 Order at 4 (“Google has failed to comply with the Court’s

 9 August 26 order in one important respect.”). On December 16, 2022, the Court again ordered

10 Google to produce verticals information relating to the named plaintiffs. See Dec. 16 Order at 4-

11 5. This time, the Court was specific about what Google must produce and for what period the

12 information must be produced, and set a firm deadline for Google to complete that production–

13 January 31, 2023. Id. at 4-5, 7.

14          In violation of the Dec. 16 Order, Google made no production of verticals information

15 relating to the named plaintiffs on January 31, 2023. Nor did it produce anything the following

16 week. On February 9, 2023, after being threatened with a sanctions motion by plaintiffs, Google

17 finally produced some verticals information that it claims relates to the named plaintiffs. If the

18 February 9 production had been late, but complete, that would have been the end of the matter.
19 But Google’s belated production on February 9 is woefully incomplete, has had key data

20 intentionally stripped out, and still is missing key verticals fields. In sum, the belated and partial

21 February 9 production still facially fails to comply with the Court’s two discovery orders.

22          Plaintiffs identified some of the problems with the February 9 production to Google in a

23 letter sent the very next day, February 10, and asked Google to promptly cure the many deficiencies

24 in that production and provide answers to questions raised by the production. Google waited 12

25 days to respond to that letter, and has not produced any additional verticals information required

26 by the Court’s two discovery orders since its deficient February 9 production.
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 1          Google’s ongoing, repeated, and willful violations of the Court’s Aug. 26 Order and Dec.

 2 16 Order with respect to verticals information relating to the named plaintiffs is highly prejudicial

 3 to plaintiffs and constitutes contempt of this Court. For the reasons set forth herein and in the

 4 accompanying Levine Declaration, Google should be held in contempt and evidentiary and

 5 monetary sanctions should be imposed on Google for its discovery misconduct and continued

 6 refusal to comply with the Court’s orders.

 7          II.    BACKGROUND
 8          As set forth in the Dec. 16 Order, “plaintiffs allege that Google collects personal and

 9 sensitive information about account holders, groups them into interest-based categories called

10 ‘verticals,’ and then shares the verticals (or information about the verticals) with RTB

11 participants.” Dec. 16 Order at 4 (citing to plaintiffs’ complaint). Plaintiffs have been seeking

12 information about the verticals shared by Google through the RTB auctions since discovery first

13 commenced back in May 2021, and Google has been fighting and resisting producing that

14 information for the entire time since then. See Levine Decl., ¶¶ 2-3.

15          On July 29, 2022, after months of futile meet and confer discussions resulted in Google not

16 producing any verticals information relating to the named plaintiffs, plaintiffs moved to compel

17 Google to produce various categories of data, which included verticals information directly and

18 indirectly relating to the named plaintiffs. See July 29, 2022 Joint Letter Brief at 1-3 (Dkt. 269);
19 Levine Decl., ¶ 4.

20          On August 26, 2022, the Court granted plaintiffs’ motion to compel and ordered Google to

21 produce certain categories of data relating to the named plaintiffs, as follows:

22          The Court expects Google to produce documents sufficient to show, for each named
            plaintiff, what information specific to that plaintiff was shared with an RTB
23          participant and the details of such sharing. If Google discloses information that
            allows an RTB participant to identify and account holder based on information the
24
            participant may have about that account holder, Google must produce records
25          showing the disclosure of that information as well.

26 Aug. 26 Order at 4-5 (emphasis in original).
27

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 1           After Google claimed to have completed its production of named plaintiff data in response

 2 to the Aug. 26 Order, plaintiffs informed Google that certain categories of named plaintiff data

 3 responsive to the Aug. 26 Order were missing from Google’s production, including, specifically,

 4 all of the categories pertaining to verticals. See Levine Decl., ¶ 6. In subsequent meet and confer

 5 discussions, Google again refused to produce any verticals categories in violation of the Aug. 26

 6 Order, which necessitated yet another motion to compel by plaintiffs that was filed on November

 7 21, 2022. See Nov. 21, 2022 Joint Letter Brief at 1-4 (Dkt. 365); Levine Decl., ¶7.

 8           On December 16, 2022, the Court issued its second discovery order on the named plaintiff

 9 data. See Dkt. 382. In the Dec. 16 Order, the Court first held that Google had failed to comply

10 with the Aug. 26 Order when it refused to produce any of the verticals information relating to the

11 named plaintiffs. Id. at 4 (“Google has failed to comply with the Court’s August 26 order in one

12 important respect.”). The Court then granted plaintiffs’ second motion to compel and ordered

13 Google to produce as follows:

14           Plaintiffs say that Google’s production must include documents sufficient to show
             both the explicit sharing of verticals associated with the named plaintiffs and any
15           implicit sharing that facilitates ad targeting. The Court agrees. Google must
             produce documents sufficient to show for each named plaintiff the “verticals” data
16
             fields it shared with RTB participants during the class period. In addition, Google
17           must produce documents sufficient to show for each named plaintiff the
             information, if any, that it provided RTB participants that would permit those
18           participants to infer information about the account holder based on verticals linked
             with the account holder.
19
     Dec. 16 Order at 5.
20
             To avoid any further delay by Google, the Court also specifically ordered Google to
21

22 produce all verticals information relating to the named plaintiffs by no later than January 31, 2023.
   See Dec. 16 Order at 7. Google neither sought nor obtained relief from the January 31, 2023
23
                              1
24 deadline set by the Court. See Levine Decl., ¶ 11.

25
        While Google did move for “clarification” of a portion of the Dec. 16 Order, it did not seek
        1
26
   any extension of the January 31, 2023 production deadline (see Dkt. 408), and the Court never
27 granted Google any such extension when it denied Google’s clarification motion orally on January
   31, 2023, and then in writing on February 1, 2023. See Dkt. 420.
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 1          Following the Court’s Dec. 16 Order, and before the January 31 production deadline,

 2 plaintiffs’ counsel attempted on multiple occasions to meet and confer with Google’s counsel

 3 about the scope of Google’s verticals production to ensure that the production would be complete

 4 and that there would be no further issues requiring judicial intervention. See Levine Decl., ¶ 12.

 5 Google and its counsel categorically refused to discuss Google’s upcoming production of verticals

 6 information with plaintiffs. Id.

 7          In violation of the Dec. 16 Order, Google did not produce any verticals information relating

 8 to the named plaintiffs on January 31, 2023. See Levine Decl., ¶ 13. Nor did it produce that

 9 information the following week. Id. On February 7, 2023, plaintiffs informed Google that in light

10 of Google’s continuing violation of the Dec. 16 Order and its continuing refusal to even say

11 whether or when it would comply – despite plaintiffs’ repeated efforts to obtain compliance –

12 plaintiffs would be filing a sanctions motion to alert the Court to Google’s ongoing violation of

13 the Dec. 16 Order. Id. at ¶ 14. On February 8, 2023, Google informed plaintiffs that it would be

14 producing verticals information relating to the named plaintiffs the following day. Id. at ¶ 15.

15          On February 9, 2023, Google finally and belatedly produced just some of the verticals

16 information called for by the Aug. 26 and Dec. 16 Orders.2 See Levine Decl., ¶ 16. The February

17 9 production, however, is grievously incomplete in at least three material respects, and facially

18 fails to comply with the Court’s Orders, as discussed below.
19          First, the Dec. 16 Order required Google to produce verticals information shared with RTB
20 participants “during the class period.” See Dec. 16 Order at 5 (emphasis added). The class period

21 here is seven years, starting in March 2016. But in its February 9 production, Google only

22 produced verticals information for a sample of just six weeks, all in 2021 and 2022, and which,

23 notably, is the period after Google allegedly stopped sharing certain verticals fields in RTB bid

24 requests. This sample represents a mere 1.6 percent of the class period, entirely ignores five of

25

26   2
    Notably, this partial production was made from two data logs that Google has previously told the
27 Court  do not include data that Google shared with RTB participants. Google’s production of
   verticals fields from these two logs demonstrates the falsity of these prior representations.
28

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 1 seven years in the class period, and is plainly unrepresentative of what Google was sharing with

 2 RTB participants about the named plaintiffs for most of the class period since Google’s practices

 3 apparently changed before the period Google sampled. See Levine Decl., ¶ 17.

 4          Second, and equally critical, Google’s February 9 production fails to include three fields
 5 of “verticals” information relating to the named plaintiffs, namely, user_lists, content_labels, and

 6 app categories. User_lists include signals that will show when a named plaintiff sent a previous

 7 communication on a specific topic or action. User lists are included as part of the “user profiles”

 8 that are shared through RTB bid requests and also are available to RTB participants for

 9 pretargeting and other deals. Content_labels are categories assigned by Google based on the

10 content of the publisher’s page being visited by the named plaintiff and Google still uses content

11 labels for both pretargeting and bidding in RTB auctions. App categories are the app equivalent

12 of verticals for URLs included in RTB bid requests. App categories are identified in a field called

13 app_category_fatcat_ids. Plaintiffs identified these three fields of verticals data to Google prior

14 to the February 9 production, and these three fields should have been included in the production

15 because they are responsive to the Dec. 16 Order and were known to Google prior to that time.

16 See Levine Decl., ¶ 18.

17          Third, while Google claims that the limited verticals data it has produced relates to the
18 named plaintiffs, and that plaintiffs should be able to link the data produced to each named
19 plaintiff, it is clear that before Google made its production on February 9, it intentionally stripped

20 out the named plaintiff identifiers from the production and did not provide them to plaintiffs as

21 part of the production. Thus, the verticals data Google produced on February 9 does not identify

22 any named plaintiffs. This is improper. The Dec. 16 Order required Google to produce verticals

23 data related to the named plaintiffs, and any fair reading of the Dec. 16 Order would require Google

24 to include the named plaintiff identifiers as part of the production since that is how the data is

25 maintained in the ordinary course of business at Google.3 Google has no excuse for stripping that

26
     3
27    This would include the Google Account ID and the Google User ID, derivations of them, and
     any joining keys that linked the two, such as the Biscotti Joinability Key.
28

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 1 responsive information out of the February 9 production other than to make it harder for plaintiffs

 2 to relink the production with the data previously produced by Google. See Levine Decl., ¶ 19.

 3          On February 10, 2023, plaintiffs sent Google a letter outlining the core deficiencies in

 4 Google’s February 9 production and asked Google to cure those deficiencies by producing

 5 verticals data for a longer time period and with links to the named plaintiffs included. See Levine

 6 Decl., ¶ 20. Google waited 12 days to respond and, when it finally did respond, Google refused

 7 to provide any additional verticals data. Id.

 8          III.    ARGUMENT
 9          “Modern instruments of discovery” are designed to make litigation “a fair contest with the

10 basic issues and facts disclosed to the fullest possible extent.” Fausto v. Credigy Servs. Corp., 251

11 F.R.D. 436, 439 (N.D. Cal. 2008) (quoting United States v. Procter & Gamble Co., 356 U.S. 677,

12 682 (1958)). When parties do not live up to their discovery obligations, the district court “may,

13 within reason, use as many and as varied sanctions as are necessary to hold the scales of justice

14 even.” 8B Federal Practice and Procedure § 2284 (3d ed. 2022 update). Federal courts have the

15 power to sanction litigants for discovery misconduct under both the Federal Rules of Civil

16 Procedure and the court's inherent power to prevent abusive litigation practices. See Leon v. IDX

17 Sys. Corp., 464 F.3d 951,958 (9th Cir. 2006).

18          When a party violates a discovery order, Rule 37(b)(2)(A) authorizes a variety of sanctions.
19 For the most serious cases of disobedience, courts may dismiss claims or an action, render a default

20 judgment, or hold the party in contempt of court for failing to obey a court order. Fed. R. Civ. P.

21 37(b)(2)(A)(v)–(vii). In other cases, they may strike pleadings, direct that certain matters or facts

22 be deemed “established for purposes of the action,” preclude a disobedient party from making

23 certain arguments or introducing certain evidence. Id. R. 37(b)(2)(A)(i)–(iii).

24          Sanctions are also available under Rule 16(f)(l), which provides that a “court may issue

25 any just orders ... if a party or its counsel . . . fails to obey a scheduling or other pretrial order.”

26 Fed. R. Civ. P. 16(f)(l)(C). Rule 16 is “broadly remedial and its purpose is to encourage forceful
27 judicial management.” Cato v. Fresno City, 234 F.3d 1276, 1276 (9th Cir. 2000) (citation

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 1 omitted). A court may order sanctions under Rule 16 for violation of an order where “[d]isregard

 2 of the order would undermine the court’s ability to control its docket, disrupt the agreed-upon

 3 course of the litigation, and reward the indolent and the cavalier.”           Johnson v. lvlammoth

 4 Recreations, Inc., 975 F.2d 604,610 (9th Cir. 1992).

 5          Additionally, “discovery misconduct may be punished under the court’s ‘inherent powers’

 6 to manage its affairs.” Guifu Li v. A Perfect Day Franchise, Inc, 281 F.R.D. 373, 396 (N.D. Cal.

 7 2012) (quoting Unigard Sec. Ins. Co. v. Lakewood Eng. Mfg. Corp., 982 F.2d 363, 368 (9th Cir.

 8 1992)). That inherent power embraces all the sanctions available under Rule 37. As the case law

 9 notes, sanctions under the inherent power are analyzed using the same test as those under Rule 37.

10 Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006); see also Adriana Int’l Corp. v. Thoeren,

11 913 F.2d 1406, 1412 n.4 (9th Cir. 1990) (making use of cases involving Rule 37 and the inherent

12 power “interchangeably”).

13          The Court may take general deterrence into account in imposing sanctions. That is because

14 one of the objectives of discovery sanctions is “generally deterring flagrant disobedience and

15 callous disregard of court discovery orders.” United States v. Sumitomo Marine & Fire Ins. Co.,

16 617 F.2d 1365, 1370 (9th Cir. 1980) (citing Nat’l Hockey League v. Metropolitan Hockey Club,

17 Inc., 427 U.S. 639, 643 (1976) (per curiam)).

18          Plaintiffs move the Court for an order of contempt against Google in light of its ongoing
19 and willful failure to make a timely and complete production of verticals information for the named

20 plaintiffs during the class period, as required by two Court orders. To hold a party in contempt, a

21 court must find by clear and convincing evidence that the party violated a specific and definite

22 order and that it had sufficient notice of its terms and the fact that it would be sanctioned if it did

23 not comply. See Harmon v. City of Santa Clara, 323 F.R.D. 617, 626 (N.D. Cal. 2018) (citing

24 F.T.C. v. Affordable Media, 179 F.3d 1228, 1239 (9th Cir. 1999)).

25          Granting contempt sanctions against Google is warranted here because Google has violated

26 multiple specific and definite orders. The Court first ordered Google to produce certain named
27 plaintiff data, which encompassed the verticals information that plaintiffs seek, in the Aug. 26

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 1 Order. See Dkt. 314 at 4 (“The Court expects Google to produce documents sufficient to show, for

 2 each named plaintiff, what information specific to that plaintiff was shared with an RTB participant

 3 and the details of such sharing. If Google discloses information that allows an RTB participant to

 4 identify an account holder based on information the participant may have about that account

 5 holder, Google must produce records showing the disclosure of that information as well.”).

 6          Google produced no verticals information relating to the named plaintiffs in response to

 7 the Aug. 26 Order and refused to make such a production without being compelled to do again by

 8 the Court. This was plainly a violation of the Aug. 26 Order since verticals information is specific

 9 to each named plaintiff and was shared with RTB participants during the class period. In the Dec.

10 16 Order, the Court specifically found that Google had failed to comply with Aug. 26 Order when

11 it refused to produce any verticals information relating to the named plaintiffs. See Dec. 16 Order

12 at 4. To avoid any further ambiguity, in the Dec. 16 Order, the Court specifically explained what

13 verticals information Google was required to produce, for what period of time this production

14 needed to be made, and when the production needed to occur. See id. at 4-5, 7.

15          Google once again willfully and knowingly failed to comply with the Court’s Order,

16 making a late and incomplete production that was intentionally stripped of key identifying

17 information and therefore did not satisfy the Dec. 16 Order. Google then refused to remedy these

18 deficiencies when they were identified by plaintiffs. Google’s conduct is plainly willful and
19 knowing and should be sanctioned. Google has now had two opportunities to produce verticals

20 information for the named plaintiffs during the class period, and has failed both times. But, even

21 if Google’s actions were not willful, contempt sanctions would still be appropriate here in light of

22 Google’ violation of multiple Court orders. See In re Dual-Deck Video Cassette Recorder

23 Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (“Civil contempt in . . . consists of a party’s

24 disobedience to a specific and definite court order by failure to take all reasonable steps within the

25 party’s power to comply. The contempt need not be willful, and there is no good faith exception

26 to the requirement of obedience to a court order.” (internal quotation omitted)).
27           Google also should be ordered to make a full and complete production of verticals

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 1 information relating to the named plaintiffs (1) for a truly representative sample of the entire class

 2 period, (2) that includes the three missing data fields identified above, and (3) that includes all

 3 named plaintiff identifiers present in any logs from which the verticals data is searched and

 4 produced. To avoid delay and alleviate further prejudice to plaintiffs, Google should be ordered to

 5 complete this production within seven (7) calendar days of the Court’s order.

 6          If Google will not or cannot comply because it failed to maintain verticals information

 7 pertaining to the named plaintiffs, as it was obligated to do and represented that it was doing, then

 8 evidentiary sanctions should be imposed on Google in the form of an order preventing Google

 9 from making any arguments based on verticals information in opposition to class certification or

10 in favor of summary judgment in this matter. Courts impose evidentiary sanctions when monetary

11 sanctions remain inadequate. See In Guifu Li v. A Perfect Day Franchise, Inc., 2011 WL 3895118,

12 at *3 (N.D. Cal. Aug. 29, 2011) (imposing evidentiary sanctions to remedy prejudice of

13 “information withheld from Plaintiffs [that] could very well bear on whether or not Plaintiffs are

14 able to establish commonality of issues across the putative class”). See also Clear-View Tech.,

15 Inc., v. Rasnick, 2015 WL 2251005 at *7-8 (evidentiary and monetary sanctions warranted given

16 defendants’ protracted and needless delays that frustrated discovery process); Dong Ah Tire &

17 Rubber Co., Ltd. v Glasforms, Inc., 2009 WL 1949124, *10 adopted in part and modified in part

18 2009 WL 2485556, *4 (N.D. Cal. Jul. 2, 2009) (evidentiary sanctions for failure to preserve
19 evidence). Spoliation of evidence raises a presumption that the destroyed evidence goes to the

20 merits of the case, and further, that such evidence was adverse to the party that destroyed it. See,

21 e.g. Phoceene Sous–Marine, S.A. v. U.S. Phosmarine, Inc., 682 F.2d 802, 806 (9th Cir. 1982);

22 Nat'l Ass'n of Radiation Survivors v. Turnage, 115 F.R.D. 543, 557 (N.D. Cal. 1987) (“Where one

23 party wrongfully denies another the evidence necessary to establish a fact in dispute, the court

24 must draw the strongest allowable inferences in favor of the aggrieved party”).

25          Finally, plaintiffs also seek monetary sanctions as appropriate, and will provide support for

26 such a sanction if the Court concludes that Google has engaged in contempt and sanctionable
27 discovery abuse. See Fed. R. Civ. P. 37(b)(2)(C).

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 1          IV.     CONCLUSION
 2          For all of the foregoing reasons, Google should be held in contempt for its willful failure

 3 to comply with the Court’s Aug. 26 and Dec. 16 Orders. Google should be ordered to make a full

 4 and complete production of verticals information relating to the named plaintiffs (1) for a truly

 5 representative sample of the entire class period, (2) that includes the three missing data fields

 6 identified above, and (3) that includes all named plaintiff identifiers present in any logs from

 7 which the verticals data is searched and produced. Google should be ordered to complete this

 8 production within seven (7) calendar days of the Court’s order.

 9          If Google will not or cannot comply because it failed to maintain verticals information

10 pertaining to the named plaintiffs, as it was obligated to do and represented that it was doing, then

11 evidentiary sanctions should be imposed on Google in the form of an order preventing Google

12 from making any arguments based on verticals information in opposition to class certification or

13 in favor of summary judgment in this matter. Monetary sanctions also should be imposed, in an

14 amount to be determined, if the Court concludes that Google has engaged in contempt and

15 sanctionable discovery abuse.

16

17 DATED: February 28, 2023                               Respectfully submitted,

18
                                                          PRITZKER LEVINE LLP
19
                                                          By: /s/ Jonathan K. Levine
20
                                                          Elizabeth C. Pritzker (Cal. Bar No.146267)
21                                                        Jonathan K. Levine (Cal. Bar No. 220289)
                                                          Bethany Caracuzzo (Cal. Bar No. 190687)
22                                                        Caroline Corbitt (Cal Bar No. 305492)
23                                                        1900 Powell Street, Ste. 450
                                                          Oakland, CA 94602
24                                                        Tel.: (415) 692-0772
                                                          Fax: (415) 366-6110
25                                                        ecp@pritzkerlevine.com
                                                          jkl@pritzkerlevine.com
26                                                        bc@pritzkerlevine.com
27                                                        ccc@pritzkerlevine.com

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 1                                       Interim Class Counsel

 2                                       BLEICHMAR FONTI & AULD LLP
                                         Lesley Weaver (Cal. Bar No.191305)
 3
                                         Anne K. Davis (Cal. Bar No. 267909)
 4                                       Joshua D. Samra (Cal. Bar No. 313050)
                                         555 12th Street, Suite 1600
 5                                       Oakland, CA 94607
                                         Tel.: (415) 445-4003
 6                                       Fax: (415) 445-4020
                                         lweaver@bfalaw.com
 7
                                         adavis@bfalaw.com
 8                                       jsamra@bfalaw.com

 9                                       SIMONS HANLY CONROY LLC
                                         Jason ‘Jay’ Barnes (admitted pro hac vice)
10                                       An Truong (admitted pro hac vice)
11                                       112 Madison Avenue, 7th Floor
                                         New York, NY 10016
12                                       Tel.: (212) 784-6400
                                         Fax: (212) 213-5949
13                                       jaybarnes@simmonsfirm.com
                                         atruong@simmonsfirm.com
14
                                         DICELLO LEVITT GUTZLER LLC
15                                       David A. Straite (admitted pro hac vice)
16                                       485 Lexington Avenue
                                         Suite 1001
17                                       Tel.: (212) 784-6400
                                         Fax: (212) 213-5949
18                                       New York, NY 10017
                                         Tel: (646) 993-1000
19
                                         dstraite@dicellolevitt.com
20
                                         COTCHETT PITRE &
21                                       MCCARTHY, LLP
                                         Nancy E. Nishimura (Cal. Bar No. 152621)
22                                       Brian Danitz (Cal Bar. No. 247403)
23                                       Karin B. Swope (admitted pro hac vice)
                                         840 Malcolm Road
24                                       Burlingame, CA 94010
                                         Tel.: (650) 697-6000
25                                       nnishimura@cpmlegal.com
                                         bdanitz@cpmlegal.com
26                                       kswope@cpmlegal.com
27
                                         BOTTINI & BOTTINI INC.
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 1                                       Frances A. Bottini, Jr. (Cal. Bar No. 175783)
                                         Yuri A. Kolesnikov (Cal. Bar. No. 271173)
 2                                       7817 Ivanhoe Ave., Ste. 102
                                         LA Jolla, CA 92037
 3
                                         Tel.: (848) 914-2001
 4                                       fbottini@bottinilaw.com
                                         ykolesnikov@bottinilaw.com
 5
                                         Plaintiffs’ Executive Committee
 6

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